 

Case 1:20-cv-06718-GBD Document 35 Filed 10/19/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES SHEVLIN,

Plaintiff,

 

-against-

20 Civ. 6718 (GBD)

CR BARD INC etal.,

Defendants.

GEORGE B. DANIELS, United States District Judge:

The parties’ request for a 90-day stay of the above-captioned action is GRANTED. The
initial conference is adjourned from January 21, 2021 to April 28, 2021 at 9:30 am.
Dated: New York, New York

October 19, 2020
SO ORDERED.

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FOR 'B. DANIELS
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